            Case 1:19-cv-01647-BAH Document 1 Filed 06/05/19 Page 1 of 11



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

JASON LEOPOLD,                               )
6824 Lexington Avenue                        )
Los Angeles, CA 90038                        )
                                             )
BUZZFEED INC.,                               )
111 East 18th Street, 13th Floor             )     Case No. 19-cv-1647
New York, NY 10003                           )
                                             )
       Plaintiffs,                           )
                                             )
       v.                                    )
                                             )
U.S. DEPARTMENT OF JUSTICE,                  )
950 Pennsylvania Avenue, NW                  )
Washington, D.C. 20530                       )
                                             )
DOJ OFFICE OF ATTORNEY GENERAL,              )
950 Pennsylvania Avenue, NW                  )
Washington, D.C. 20530                       )
                                             )
DOJ DEPUTY ATTORNEY GENERAL,                 )
950 Pennsylvania Avenue, NW                  )
Washington, D.C. 20530                       )
                                             )
DOJ OFFICE OF SPECIAL COUNSEL,               )
950 Pennsylvania Avenue, NW                  )
Washington, D.C. 20530                       )
                                             )
FEDERAL BUREAU OF                            )
INVESTIGATION,                               )
935 Pennsylvania Avenue, NW                  )
Washington, D.C. 20535                       )
                                             )
DOJ NATIONAL SECURITY DIVISION,              )
950 Pennsylvania Avenue, N.W.                )
Washington, D.C. 20530                       )
                                             )
DOJ OFFICE OF LEGAL POLICY,                  )
950 Pennsylvania Avenue, N.W.                )
Washington, D.C. 20530                       )
                                             )
DOJ OFFICE OF THE                            )
ASSOCIATE ATTORNEY GENERAL,                  )
950 Pennsylvania Avenue, N.W.                )
Washington, D.C. 20530                       )
                                             )
            Case 1:19-cv-01647-BAH Document 1 Filed 06/05/19 Page 2 of 11



DOJ OFFICE OF PUBLIC AFFAIRS                            )
950 Pennsylvania Avenue, N.W.                           )
Washington, D.C. 20530                                  )
                                                        )
DOJ CRIMINAL DIVISION                                   )
950 Pennsylvania Avenue, N.W.                           )
Washington, D.C. 20530                                  )
                                                        )
DOJ OFFICE OF LEGISLATIVE AFFAIRS,                      )
950 Pennsylvania Avenue, N.W.                           )
Washington, D.C. 20530                                  )
                                                        )
NATIONAL SECURITY AGENCY                                )
9800 Savage Road STE 6932                               )
Fort George G. Meade, MD 20755-6000                     )
                                                        )
       Defendants.                                      )

                                          COMPLAINT

       1.       Plaintiffs JASON LEOPOLD and BUZZFEED INC. file this Freedom of

Information Act suit seeking the prompt release of certain records relating to the Special

Counsel’s investigation into Russian interference with the 2016 Presidential election and related

events and communications.

                                            PARTIES

       2.       Plaintiffs JASON LEOPOLD and BUZZFEED INC. are members of the media

and made the FOIA requests at issue in this case.

       3.       Defendants are federal agencies subject to the Freedom of Information Act, 5

U.S.C. § 552, and/or components of the U.S. Department of Justice.

                                JURISDICTION AND VENUE

       4.       This case is brought under 5 U.S.C. § 552(a)(6)(c)(i) and presents a federal

question conferring jurisdiction on this Court.

       5.       Venue is proper under 5 U.S.C. § 552(a)(4)(B).




                                                  -2-
            Case 1:19-cv-01647-BAH Document 1 Filed 06/05/19 Page 3 of 11



              MARCH 18, 2019 FOIA TO DOJ (NEW YORK TIMES ARTICLE)

       6.       On March 18, 2019, Plaintiffs requested from the Department of Justice (“DOJ”):

(1) certain records pertaining to discussions between former Federal Bureau of Investigation

Acting Director McCabe and Deputy Attorney General Rosenstein, dating from February 1,

2017, through July 31, 2017, and (2) records pertaining to a specified New York Times article

dated September 21, 2018, dating from September 14 - 30, 2018.

       7.       DOJ assigned the following number to the request: DOJ-2019-003019.

       8.       On April 16, 2019, DOJ acknowledged receipt of the request and asserted that due

to “unusual circumstances,” “we will need to extend the time limit to respond to your request

beyond the ten additional days provided by the statute.”

       9.       As of the date of this filing, DOJ has not issued a determination or produced any

responsive records.

               APRIL 19, 2019 FOIA TO DOJ (REPORT PRESS BRIEFING)

       10.      On April 19, 2019, Plaintiffs requested from DOJ, the Office of the Attorney

General (“OAG”), the Office of the Deputy Attorney General (“ODAG”), the Office of the

Associate Attorney General (“OAAG”), Office of Public Affairs (“OPA”), and the Office of

Special Counsel Robert Mueller (“OSC”): “1. Any and all final and draft talking points prepared

for Attorney General William Barr, Deputy Attorney General Rod Rosenstein, and/or any

official in the Department of Justice relating or referring to the April 18, 2019 press briefing lead

by William Barr concerning the public release of the Special Counsel Robert Mueller's report. 2.

Any and all legal guidance prepared for Attorney General William Barr and any Justice

Department official concerning the April 18, 2019 public release of Special Counsel Robert

Mueller's report. 3. Any and all media guidance and/or media planning records prepared for

and/or by the Office of Public Affairs relating or referring to engaging the media concerning the


                                                -3-
          Case 1:19-cv-01647-BAH Document 1 Filed 06/05/19 Page 4 of 11



April 18, 2019 public release of Special Counsel Robert Mueller's report. 4. Any and all emails

and text messages exchanged between any official in the Office of Attorney General, the Office

of Deputy Attorney General, the Office of the Associate Attorney General, and any person in the

Office of Public Affairs and the following Washington Post reporters: Matt Zapotosky, Carol D.

Leonnig, Rosalind S. Helderman and Devlin Barrett, that mentions or refers to the April 18, 2019

release of Special Counsel Robert Mueller's report. The timeframe for this request is April 17,

2019. 5. Any and all records, including emails, letters, memos, text messages, from the Office of

Attorney General, Deputy Attorney General, Associate Attorney General, Office of Legislative

Affairs, relating or referring to Special Counsel Robert Mueller's report and a decision by

Attorney General William Barr to share a version of the report with President Donald Trump's

lawyers prior to its public release. Please be sure the search for responsive records includes

EOP.gov.”

       11.     DOJ assigned the following number to the request: DOJ-2019-004046.

       12.     On May 17, 2019, DOJ, through the DOJ Office of Information Policy (“OIP”),

acknowledged receipt of the request and asserted that due to “unusual circumstances,” “we will

need to extend the time limit to respond to your request beyond the ten additional days provided

by the statute.”

       13.     As of the date of this filing, DOJ has not issued a determination or produced any

responsive records.

             APRIL 20, 2019 FOIA TO DOJ (MEETING & MEMORANDUM)

       14.     On April 20, 2019, Plaintiffs requested from DOJ, OAG, ODAG, OAAG, OSC,

the Office of Legislative Affairs (“OLA”), the National Security Division (“NSD”), the Criminal

Division (“CD”), and the Office of Legal Policy (“OLP”): “1. All letters, emails, memos, text

messages, legal guidance, legal opinions, from senior officials in each of these offices


                                              -4-
         Case 1:19-cv-01647-BAH Document 1 Filed 06/05/19 Page 5 of 11



mentioning or referring to Special Counsel Robert Mueller's report, the decision by the Special

Counsel to conclude whether President Donald Trump had committed . crime and the Office of

Legal Counsel opinion that says a sitting president should not be indicted even if the charges

remain sealed. 2. All emails, memos, letters, text messages from any official in the Office of

Attorney General, the Deputy Attorney General and the Associate Attorney General, mentioning

or referring to a March 5, 2019 meeting between Attorney General William Barr and Special

Counsel Robert Mueller. 3. All letters, emails, memos, text messages, reports, from these offices

mentioning or referring to a June 8, 2018 memo William Barr sent to Rod Rosenstein and

Assistant Attorney General Steve Engel under the subject line: Mueller's ‘Obstruction’ Theory.”

       15.     DOJ assigned the following number to the request: DOJ-2019-004047.

       16.     On May 17, 2019, DOJ, through OIP, acknowledged receipt of the request and

asserted that due to “unusual circumstances,” “we will need to extend the time limit to respond to

your request beyond the ten additional days provided by the statute.”

       17.     As of the date of this filing, DOJ has not issued a determination or produced any

responsive records.

                  APRIL 20, 2019 FOIA TO DOJ (ETHICAL GUIDANCE)

       18.     On April 20, 2019, Plaintiffs requested from DOJ, OAG, ODAG, OSC, OLA,

OLP, and OPA: “1. Any and all ethical guidance prepared for officials in these offices, including

the Attorney General William Barr and Deputy Attorney General Rod Rosenstein, that mentions

or refers to the investigation conducted by Special Counsel Robert Mueller and Mr. Mueller's

final report of the investigation conducted by his office. 2. Any and all records, including but not

limited to memos, letters, emails, sent or received by the Office of Legislative Affairs to/from an

individual member of Congress or a congressional committee, mentioning or referring to Special

Counsel Robert Mueller's investigation and Mr. Mueller's final report of his investigation,


                                               -5-
         Case 1:19-cv-01647-BAH Document 1 Filed 06/05/19 Page 6 of 11



discussions relating to the sharing of this report with members of Congress and congressional

committees, and the sharing of an unredacted version of this report with members of Congress

and congressional committee.”

       19.     DOJ assigned the following number to the request: DOJ-2019-004048.

       20.     On May 20, 2019, DOJ, through OIP, acknowledged receipt of the request and

asserted that due to “unusual circumstances,” “we will need to extend the time limit to respond to

your request beyond the ten additional days provided by the statute.”

       21.     As of the date of this filing, DOJ has not issued a determination or produced any

responsive records.

                      APRIL 23, 2019 FOIA TO DOJ (NEWS REPORTS)

       22.     On April 23, 2019, Plaintiffs requested from DOJ records from the Department

pertaining to two named news reports from BuzzFeed News published on June 6, 2018 and

February 5, 2019.

       23.     DOJ assigned the following number to the request: DOJ-2019-004139.

       24.     On May 21, 2019, DOJ acknowledged receipt of the request and asserted that due

to “unusual circumstances,” “we will need to extend the time limit to respond to your request

beyond the ten additional days provided by the statute.”

       25.     As of the date of this filing, DOJ has not issued a determination or produced any

responsive records.

                 APRIL 26, 2019 FOIA TO DOJ (ROSENSTEIN EMAILS)

       26.     On May 23, 2019, Plaintiffs requested from DOJ: Deputy Attorney General Rod

Rosenstein emails since January 1, 2017.

       27.     DOJ assigned the following number to the request: DOJ-2019-004253.




                                              -6-
         Case 1:19-cv-01647-BAH Document 1 Filed 06/05/19 Page 7 of 11



       28.     On April 5, 2019, DOJ acknowledged receipt of the request and asserted that due

to “unusual circumstances,” “we will need to extend the time limit to respond to your request

beyond the ten additional days provided by the statute.”

       29.     As of the date of this filing, DOJ has not issued a determination or produced any

responsive records.

              APRIL 20, 2019 FOIA TO FBI (WRAY COMMUNICATIONS)

       30.     On April 20, 2019, Plaintiffs requested from the Federal Bureau of Investigation

(“FBI”): “1. Any and all emails, letters, memos, text messages, reports, from FBI Director

Christopher Wray that mentions or refers to Special Counsel Robert Mueller's report into any

links and/or coordination between the Russian government and individuals associated with the

campaign of President Donald Trump; and (ii) any matters that arose or may arise directly from

the investigation; and (iii) any other matters within the scope of 28 C.F.R. § 600.4(a). 2. Any

and all letters, messages, memos emails sent to the FBI workforce mentioning or referring to

Special Counsel Robert Mueller's report. 3. Any and all letters, memos, emails, reports, FBI

Director Christopher Wray exchanged with the Offices of Attorney General, Deputy Attorney

General, Associate Attorney General, National Security Division, Criminal Division, mentioning

or referring to Special Counsel Robert Mueller's report.”

       31.     As of the date of this filing, FBI has not issued a determination or produced any

responsive records.

SEPTEMBER 6, 2018 REQUEST TO FBI (NEW YORK TIMES ANONYMOUS OP-ED)

       32.     On September 6, 2018, Plaintiffs requested from FBI records that mention or refer

to an anonymously penned op-ed about President Trump that the New York Times published on

September 5, 2018.

       33.     FBI assigned the following request number to the request: 1416115-000.


                                               -7-
          Case 1:19-cv-01647-BAH Document 1 Filed 06/05/19 Page 8 of 11



       34.    On October 9, 2018, FBI denied the request alleging that Plaintiffs did not

reasonably describe the requested records.

       35.    Plaintiffs appealed FBI’s denial to DOJ.

       36.    DOJ assigned the following appeal number to Plaintiff’s appeal: DOJ-AP-2019-

000495.

       37.    On May 29, 2019, DOJ, through OIP, upheld FBI’s denial.

             APRIL 22, 2019 REQUEST TO NSA (ROGERS PHONE CALL)

       38.    On April 22, 2019, Plaintiffs requested from the Naitonal Security Agency

(“NSA”) “All records, such as emails, memos, letters, memorializing a telephone call President

Trump made to Admiral Mike Rogers on March 26, 2017 in which he told him that news stories

alleging that Trump’s 2016 White house campaign had ties to Russia were false and asked

whether Rogers could do anything to counter them. 2. Any and all records, such as emails,

memos, letters, from NSA Deputy Director Richard Ledgett documenting, memorializing and

discussing this telephone call from President Trump to Admiral Rogers. Date Range: March 26,

2017 through April 30, 2017.

       39.    Plaintiffs sought expedited processing of their request.

       40.    NSA assigned the following case number to the request: 106718.

       41.    On May 2, 2019, NSA denied Plaintiffs’ request for expedited processing.

       42.    As of the date of this filing, NSA has not issued a determination or produced any

responsive records.

                           COUNT I – DOJ FOIA VIOLATIONS

       43.    The above paragraphs are incorporated herein.

       44.    DOJ and the Defendant DOJ components are agencies subject to FOIA.

       45.    Plaintiffs made FOIA requests to the DOJ Defendants for agency records.


                                              -8-
         Case 1:19-cv-01647-BAH Document 1 Filed 06/05/19 Page 9 of 11



       46.    The DOJ Defendants have failed to issue determinations and/or produce the

requested records.

                         COUNT II – OAG FOIA VIOLATIONS

       47.    The above paragraphs are incorporated herein.

       48.    OAG is an agency subject to FOIA.

       49.    Plaintiffs made FOIA requests to the OAG for agency records.

       50.    OAG failed to issue determinations and/or produce the requested records.

                        COUNT III – ODAG FOIA VIOLATIONS

       51.    The above paragraphs are incorporated herein.

       52.    ODAG is an agency subject to FOIA.

       53.    Plaintiffs made FOIA requests to ODAG for agency records.

       54.    ODAG failed to issue determinations and/or produce the requested records.

                        COUNT IV – OAAG FOIA VIOLATIONS

       55.    The above paragraphs are incorporated herein.

       56.    OAAG is an agency subject to FOIA.

       57.    Plaintiffs made FOIA requests to OAAG for agency records.

       58.    OAAG failed to issue determinations and/or produce the requested records.

                          COUNT V – OPA FOIA VIOLATIONS

       59.    The above paragraphs are incorporated herein.

       60.    OPA is an agency subject to FOIA.

       61.    Plaintiffs made FOIA requests to OPA for agency records.

       62.    OPA failed to issue determinations and/or produce the requested records.

                         COUNT VI – OSC FOIA VIOLATIONS

       63.    The above paragraphs are incorporated herein.


                                             -9-
 Case 1:19-cv-01647-BAH Document 1 Filed 06/05/19 Page 10 of 11



64.   OSC is an agency subject to FOIA.

65.   Plaintiffs made FOIA requests to OSC for agency records.

66.   OSC failed to issue determinations and/or produce the requested records.

                 COUNT VII – OLP FOIA VIOLATIONS

67.   The above paragraphs are incorporated herein.

68.   OLP is an agency subject to FOIA.

69.   Plaintiffs made FOIA requests to OLP for agency records.

70.   OLP failed to issue determinations and/or produce the requested records.

                COUNT VIII – OLA FOIA VIOLATIONS

71.   The above paragraphs are incorporated herein.

72.   OLA is an agency subject to FOIA.

73.   Plaintiffs made FOIA requests to OLA for agency records.

74.   OLA failed to issue determinations and/or produce the requested records.

                 COUNT IX – NSD FOIA VIOLATIONS

75.   The above paragraphs are incorporated herein.

76.   NSD is an agency subject to FOIA.

77.   Plaintiffs made FOIA requests to NSD for agency records.

78.   NSD failed to issue determinations and/or produce the requested records.

                   COUNT X – CD FOIA VIOLATIONS

79.   The above paragraphs are incorporated herein.

80.   CD is an agency subject to FOIA.

81.   Plaintiffs made FOIA requests to CD for agency records.

82.   CD failed to issue determinations and/or produce the requested records.




                                    - 10 -
       Case 1:19-cv-01647-BAH Document 1 Filed 06/05/19 Page 11 of 11



                          COUNT XI – FBI FOIA VIOLATIONS

      83.     The above paragraphs are incorporated herein.

      84.     FBI is an agency subject to FOIA.

      85.     Plaintiffs made FOIA requests to FBI for agency records.

      86.     FBI failed to issue determinations and/or produce the requested records.

                         COUNT XII – NSA FOIA VIOLATIONS

      87.     The above paragraphs are incorporated herein.

      88.     NSA is an agency subject to FOIA.

      89.     Plaintiffs made FOIA requests to NSA for agency records.

      90.     NSA failed to issue determinations and/or produce the requested records.

WHEREFORE, Plaintiffs ask the Court to:

         i.   Order Defendants to produce the requested records;

        ii.   Award Plaintiffs attorney fees and costs; and

       iii.   Enter any other relief the Court deems appropriate.


DATED: June 5, 2019
                                            Respectfully Submitted,

                                                      /s/ Matthew Topic

                                                      Attorneys for Plaintiffs

                                                      Matthew Topic
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                                             - 11 -
